Case 2:20-cv-06290-SK Document 24 Filed 10/27/21 Page 1 of 1 Page ID #:1148




                                                              JS-6


                 UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA


SHONTAE RASHEDA THOMAS,                Case No. 2:20-cv-06290-SK
                  Plaintiff,           JUDGMENT
            v.

KILOLO KIJAKAZI, Acting
Commissioner of the Social
Security Administration,
                  Defendant.


     IT IS ADJUDGED that this action is reversed and remanded to the
Commissioner of the Social Security Administration for further proceedings.



DATED: October 27, 2021
                                        HON. STEVE KIM
                                        U.S. MAGISTRATE JUDGE
